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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                              CHAPTER 7

LAURA WALDMAN                                       BANKRUPTCY NO. 12-15822 (REF)

                        Debtor


                                            ORDER


         AND NOW, upon consideration of the First Interim Application of Maschmeyer

Karalis P.C. ("MK") for Compensation and Reim bursement of Expenses as Counsel to the

Trustee, it is hereby

         ORDERED that the sum of $1,800.00 is allowed as reasonable compensation for the

services rendered and $19.20 for reimbursement of expenses for a total of $1,819.20, both of

which shall be paid to MK as Counsel for Trustee for services rendered and costs expended for

the period October 21, 2016 through December 31, 2017.


                                             BY THE COURT:

    Date: April 5, 2018
                                            RICHARD E. FEHLING
                                            CHIEF U.S. BANKRUPTCY JUDGE
